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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 0:19-CV-62751

  DAVID GREENWALD,

         Plaintiff,

  v.

  FROST-ARNETT COMPANY, and
  CORAL ANESTHESIA ASSOCIATES, INC.,

        Defendants.
  _______________________________________/

                 VERIFIED MOTION FOR AWARD OF ATTORNEYS’ FEES

         Plaintiff DAVID GREENWALD (“Plaintiff”), pursuant to Fed. R. Civ. P. 54(d) and S.D.

  Fla. L.R. 7.3, files this Motion for an award of reasonable attorneys’ fees incurred by Plaintiff in

  this matter, and in support thereof, states the following:

         1.      On November 5, 2019, Plaintiff commenced the above-captioned action against

  Defendant Frost-Arnett Company and Defendant Coral Anesthesia Associates, Inc. (collectively,

  the “Defendants”) for violations of the Fair Debt Collection Practices Act (the “FDCPA”) and

  Florida Consumer Collection Practices Act (the “FCCPA”). On January 2, 2020, Defendant Coral

  Anesthesia Associates, Inc., was dismissed from the above-captioned action [D.E. 19], and

  Plaintiff accepted Defendant Frost-Arnett Company’s Offer of Judgment [D.E. 20]. As part of the

  Offer of Judgment, Plaintiff received the maximum amount of statutory damages recoverable from

  Defendant Frost-Arnett Company, as well as reasonable attorneys’ fees and costs.

         2.      Accordingly, Plaintiff is the prevailing party in this Action, whereby a

  Memorandum of Law in Support of Plaintiff’s Verified Motion for Award of Attorneys’ Fees is

  attached hereto as Exhibit “A.”

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         3.      Pursuant to 15 U.S.C. § 1692k(3), in the case of a successful action to enforce

  liability under the FDCPA, a plaintiff is entitled to “the costs of the action, together with a

  reasonable attorney's fee as determined by the court.” This is true for a successful action to enforce

  liability under the FCCPA, in that, pursuant to Fla. Stat. § 559.77, “[a]ny person who fails to

  comply with any provision of § 559.72 is liable for actual damages and for additional statutory

  damages as the court may allow, but not exceeding $1,000, together with court costs and

  reasonable attorney’s fees incurred by the plaintiff.” Fla. Stat. § 559.77(2).

         4.      Attorney Thomas J. Patti, Esq. (“Attorney Patti”) expended a total 7.8 hours on

  behalf of Plaintiff. See Declaration of Thomas J. Patti in Support of Plaintiff’s Motion for Award

  Attorneys’ Fees (attached hereto as Exhibit “B”). The hourly rate for the services provided by

  Attorney Patti is $475.00 per hour. Id.

         5.      Attorney Paul A. Herman, Esq. (“Attorney Herman”) expended a total 5.1 hours

  on behalf of Plaintiff. See Declaration of Paul A. Herman in Support of Plaintiff’s Motion for

  Award Attorneys’ Fees (attached hereto as Exhibit “C”). The hourly rate for the services provided

  by Attorney Herman is $575.00 per hour. Id.

         6.      Here, reasonable attorney’s fee equals the sum of the services provided by Attorney

  Patti (7.8 hours at $475.00/hour) plus the services of Attorney Herman (5.1 hours at

  $575.00/hour), the sum of which equals $6,637.50.

         7.      A true and correct detailed invoice depicting the hours expended and attorneys’ fees

  generated by Plaintiff’s Attorneys’ is attached to Exhibit “D” (the “Joint Timecard”).

         8.      Pursuant to S.D. Fla. L.R. 7.3(a)(4), Plaintiff discloses that the terms of his

  agreement with the undersigned counsel is for the payment of reasonable attorney’s fees and costs




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  as determined by the Court. Plaintiff seeks interest pursuant to 28 U.S.C. § 1961 on any award of

  costs or reasonable attorney’s fees.

         9.      WHEREFORE, Plaintiff, respectfully, request this Honorable Court to approve as

  fair, reasonable, and adequate, this request for attorneys’ fees in the amount of $6,637.50.

         Dated: December 14, 2020
                                                     Respectfully Submitted,

                                                      /s/ Thomas J. Patti                            .
                                                     THOMAS J. PATTI, ESQ.
                                                     Florida Bar No.: 118377
                                                     E-mail: tom@jibraellaw.com
                                                     The Law Offices of Jibrael S. Hindi
                                                     110 SE 6th Street, Suite 1744
                                                     Fort Lauderdale, Florida 33301
                                                     Phone: 954-907-1136

                                                     COUNSEL FOR PLAINTIFF

                                  VERIFICATION OF COUNSEL

         In accordance with Local Rule 7.3(a)(7) for the Southern District of Florida, I verify under

  penalty of perjury that the foregoing is true and correct.

                                                     /s/ Thomas J. Patti                         .
                                                    THOMAS J. PATTI, ESQ.
                                                    Florida Bar No.: 118377

                                                     /s/ Paul A. Herman                              .
                                                    PAUL A. HERMAN, ESQ.
                                                    Florida Bar No.: 405175

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 14, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.

                                                     /s/ Thomas J. Patti                         .
                                                    THOMAS J. PATTI, ESQ.
                                                    Florida Bar No.: 118377



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